        Case: 24-1821      Document: 16                    Page: 1                 Date Filed: 05/15/2024




                               Nos. 24-1820 & 24-1821

   United States Court of Appeals for the Third Circuit
                               ___________________
                          BRISTOL MYERS SQUIBB COMPANY,
                                                                                                 Plaintiff-Appellant,
                                                        v.
                               XAVIER BECERRA, ET AL.,
                                                                                               Defendants-Appellees.
                          JANSSEN PHARMACEUTICALS, INC.,
                                                                                                 Plaintiff-Appellant,
                                                        v.
                               XAVIER BECERRA, ET AL.,
                                                                                               Defendants-Appellees.
                               _______________________________________________________




             On Appeal from the United States District Court for the
            District of New Jersey, Nos. 3:23-cv-03335 & 3:23-cv-03818
                             ____________________
                            MOTION TO EXPEDITE
                             ____________________
   Robert A. Long, Jr.                                               Noel J. Francisco
   Kevin F. King                                                     Yaakov M. Roth
   Michael M. Maya                                                   Brett A. Shumate
   Bradley K. Ervin                                                  JONES DAY
   COVINGTON & BURLING LLP                                           51 Louisiana Avenue, N.W.
   850 Tenth Street, NW                                              Washington, D.C. 20001
   Washington, D.C. 20001-4956
                                                                     Toni-Ann Citera
                                                                     Rajeev Muttreja
                                                                     JONES DAY
                                                                     250 Vesey Street
   May 15, 2024                                                      New York, NY 10281
Counsel for Janssen Pharmaceuticals, Inc.     Counsel for Bristol Myers Squibb Company
                      (Additional counsel listed on signature page)
         Case: 24-1821     Document: 16     Page: 2     Date Filed: 05/15/2024




      Pursuant to Federal Rule of Appellate Procedure 27 and Local Appellate Rule

4.1, Appellants Bristol Myers Squibb Company (“BMS”) and Janssen Pharmaceuticals,

Inc. (“Janssen”) respectfully request that the Court expedite the briefing, argument, and

disposition of these consolidated appeals concerning the constitutionality of the Drug

Price Negotiation Program (the “Program”) in the Inflation Reduction Act (the “IRA”),

given the national importance and time-sensitivity of the issues presented. Counsel for

BMS and Janssen have conferred with counsel for the Government regarding this

motion. The Government consents to this motion only insofar as it requests the

briefing schedule agreed upon by the parties; the Government otherwise defers to the

Court with respect to when it hears argument and renders a decision.

                                  BACKGROUND

      In August 2022, Congress enacted the “Drug Price Negotiation Program” as part

of the IRA. The statute exposes drug manufacturers to enormous financial penalties

or withdrawal from Medicare and Medicaid—neither of which is a real option—as a

means of coercing them into participating in the Program and providing Medicare

beneficiaries with “access” to medicines selected by the Centers for Medicare and

Medicaid Services (“CMS”), at below-market prices dictated by CMS. In addition, the

IRA requires the manufacturers of chosen drugs (on pain of additional penalties) to

participate in faux “negotiations” with CMS, and to publicly affirm that they have

“agreed” that the Government-set price is the “maximum fair price” for their products.
         Case: 24-1821    Document: 16     Page: 3     Date Filed: 05/15/2024




These consolidated appeals, filed by BMS and Janssen, concern the constitutionality of

this unprecedented Program.

      BMS and Janssen manufacture medicines—Eliquis and Xarelto, respectively—

that were chosen by CMS for the Program. The mandated “negotiations” with CMS

are already underway for each of BMS and Janssen regarding these drugs, which are

among the Nation’s most widely used medicines. The manufacturers must reach an

“agreement” with the Government by August 1, 2024, which is when the “negotiation

period” ends. The Government will then announce to the public the “maximum fair

price” of these medicines by September 1, 2024, and the Government-dictated price

for these medicines will become effective January 1, 2026. See 42 U.S.C. §§ 1320f(d),

1320f–1(a)(1).

      Meanwhile, additional BMS and Janssen medicines are projected to be swept into

the Program’s subsequent cycles, to which the Government will add new medicines

each year. And based on how the Program operates, BMS and Janssen are making

decisions now about discovery, research, and development funding for medicines that

are years or decades away from reaching the market. See Decl. of Christopher T. Mancill

¶¶ 40–45, BMS D. Ct. Doc. 36-1 (“Mancill Decl.”).

      BMS and Janssen separately challenged the Program’s constitutionality in the

District of New Jersey, asserting claims under the Fifth and First Amendments. Compl.,

BMS D. Ct. Doc. 1; Compl., Janssen D. Ct. Doc. 1. The manufacturers and the

Government cross-moved for summary judgment without discovery, and those
         Case: 24-1821     Document: 16      Page: 4     Date Filed: 05/15/2024




motions were argued together on March 7, 2024. BMS D. Ct. Docs. 36, 38, 107; Janssen

D. Ct. Doc. 30, 33. On April 29, 2024, the District Court denied the manufacturers’

motions and granted the Government’s cross-motions, issuing an opinion and the final

judgments now on appeal. BMS D. Ct. Docs. 110, 111; Janssen D. Ct. Docs. 98, 99.

The District Court held that: (i) the Program does not effectuate a physical taking of

BMS’s and Janssen’s property under the Fifth Amendment; (ii) the Program does not

violate BMS’s and Janssen’s First Amendment rights by compelling their speech; and

(iii) the Program does not violate the unconstitutional conditions doctrine. Opinion,

BMS D. Ct. Doc. 110.

      BMS immediately filed a notice of appeal to this Court. BMS D. Ct. Doc. 113.

Janssen filed a notice of appeal the next day. Janssen D. Ct. Doc. 100. This Court

consolidated the appeals when docketing them.

                                    ARGUMENT

      This Court may “expedite the consideration of any action … if good cause

therefor is shown.” 28 U.S.C. § 1657(a); see L.A.R. 4.1 (a motion to expedite shall “set[]

forth the exceptional reason that warrants expedition”). Good cause exists here.

      Most fundamentally, the parties and the public alike have a strong interest in

adjudicating the constitutionality of this major, novel Program before the Government-

mandated prices take effect on January 1, 2026. BMS and Janssen therefore respectfully

request a decision from this Court by early 2025, so that en banc and/or Supreme Court

review can be sought and obtained, if necessary, without the need to seek emergency
         Case: 24-1821     Document: 16     Page: 5    Date Filed: 05/15/2024




relief. The proposed briefing schedule, followed by prompt oral argument (if the Court

deems it appropriate), is intended to accommodate that timing.

      Moreover, the Program is already causing ongoing and escalating constitutional

and financial harm to BMS and Janssen. BMS and Janssen have been compelled, by

the threat of enormous penalties, to enter faux “negotiations” with CMS and, by August

2024, will be forced to sign “agreements” declaring the prices dictated by CMS to be

the “maximum fair prices” for their medicines. The manufacturers assert that this

compelled speech violates the First Amendment, which amounts to irreparable harm.

Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality op.). In addition, other BMS and

Janssen medicines are projected to be selected for subsequent cycles of the Program,1

and the manufacturers must make critical decisions today about their portfolios—

including what products and indications to develop—under that unconstitutional

shadow. Mancill Decl. ¶¶ 40–45 (noting a registrational study BMS has decided not to

pursue as a result of the IRA).

      The Government does not oppose the proposed briefing schedule, for good

reason. This appeal presents purely legal questions, which have been extensively briefed

and argued by the Government in numerous cases across the Nation. See supra n.1.

And the Government has not opposed similar requests to expedite consideration of


1
 See Sean Dickson & Inmaculada Hernandez, Drugs Likely Subject to Medicare Negotiation,
2026–2028, 29 J. Mgmt. Care Spec. Pharm. 229, 231–32 (Mar. 2023), available at
https://www.jmcp.org/doi/epdf/10.18553/jmcp.2023.29.3.229?role=tab.
         Case: 24-1821      Document: 16     Page: 6     Date Filed: 05/15/2024




other challenges to the Program. See, e.g., Stipulated & Proposed Order, AstraZeneca

Pharms. LP v. Becerra, No. 1:23-cv-00931 (D. Del. Sept. 18, 2023) (not opposing

plaintiff’s request that district court rule “on or before March 1, 2024”); Unopposed

Motion to Expedite Briefing and Argument, Nat’l Infusion Center Ass’n v. Becerra, No. 24-

50180 (5th Cir. Mar. 22, 2024). The only other court of appeals to consider a challenge

to the Program also expedited its consideration of that appeal. See Order, Nat’l Infusion

Ctr. Ass’n v. Becerra, No. 24-50180 (5th Cir. Apr. 1, 2024).

                CONCLUSION AND PROPOSED SCHEDULE

       For these reasons, BMS and Janssen respectfully request that the Court expedite

the briefing, argument, and disposition of these related appeals. Appellants propose,

and the Government consents to, the following briefing schedule:

       Appellants’ Opening Briefs: July 12, 2024.

       The Government’s Opposition Brief: September 9, 2024.

       Appellants’ Reply Briefs: October 2, 2024.

       BMS and Janssen are available to appear for oral argument at the Court’s earliest

convenience following the conclusion of briefing.
     Case: 24-1821       Document: 16       Page: 7    Date Filed: 05/15/2024




  Dated: May 15, 2024                         Respectfully submitted,

/s/ Kevin F. King                             /s/ Yaakov M. Roth
Robert A. Long, Jr.                           Noel J. Francisco
Kevin F. King                                 Yaakov M. Roth
Michael M. Maya                               Brett A. Shumate
Bradley K. Ervin                              Charles E.T. Roberts
COVINGTON & BURLING LLP                       John Henry Thompson
850 Tenth Street, NW                          Louis J. Capozzi III
Washington, D.C. 20001-4956                   JONES DAY
                                              51 Louisiana Avenue, N.W.
                                              Washington, D.C. 20001

                                              Toni-Ann Citera
                                              Rajeev Muttreja
                                              JONES DAY
                                              250 Vesey Street
                                              New York, NY 102811

                                              Jeffrey J. Greenbaum
                                              Katherine M. Lieb
                                              SILLS CUMMIS & GROSS P.C.
                                              One Riverfront Plaza
                                              Newark, New Jersey 07102

Counsel for Janssen Pharmaceuticals, Inc.     Counsel for Bristol Myers Squibb Company
         Case: 24-1821       Document: 16   Page: 8    Date Filed: 05/15/2024




                            COMBINED CERTIFICATIONS

   1. Pursuant to Third Circuit L.A.R. 28.3(d), at least one of the attorneys whose

names appear on this motion, including the undersigned, is a member in good standing

of the bar of this Court.

   2. This motion complies with the type-volume limitation of Fed. R. App. P. 27(d)(2)

because it contains 1,144 words, excluding the parts of the documented exempted by

Fed. R. App. P. 32(f).

   3. This motion complies with the typeface and type-style requirements of Fed. R.

App. P. 32(a)(5) and Fed. R. App. P. 32(a)(6) because it has been prepared in a 14-point

proportionally spaced typeface (Garamond) using Microsoft Word.

   4. That on May 15, 2024, I caused the foregoing to be filed with the Clerk of Court

using the CM/ECF System, and all counsel of record in this case is a Filing User who

will receive notice of such filing.




Dated: May 15, 2024                            /s/ Yaakov M. Roth
                                               Yaakov M. Roth
